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 4
     Attorney for Defendant
 5   PABLO CASTRO MARRON
 6                         IN THE UNITED STATES DISTRICT COURT
 7
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,                        Case No.: 95-235 EJG
10
                    Plaintiff,                        STIPULATION AND ORDER TO RESET
11
                                                      TRIAL CONFIRMATION HEARING
12            v.
                                                      DATE: JUNE 8, 2012
13   PABLO CASTRO MARRON,                             TIME: 10:00 a.m.
14                                                    JUDGE: Hon. Edward J. Garcia
                                                      AS MODIFIED . . .
15                  Defendant.
16
17            IT IS HEREBY STIPULATED by and between Assistant United States Attorney
18   William Wong, Counsel for Plaintiff, and Attorney Clemente M. Jiménez, Counsel for
19   Defendant PABLO CASTRO MARRON, that the trial confirmation hearing, currently set
20   for June 8, 2012, be vacated and the matter specially set for June 11, 2012, at 3:00 p.m.
21   for trial confirmation hearing.
22            The parties’ attempts to resolve this matter are ongoing. The parties have a
23   potential resolution, with an 11(c)(1)(C) plea agreement forthcoming. Counsel will
24   require time to review the plea agreement with Mr. Marron, who is presently in custody
25   in Butte County Jail.
26            IT IS FURTHER STIPULATED that time for trial under the Speedy Trial Act, 18
27   U.S.C. Section 3161 et seq. be tolled pursuant to Section 3161(h)(7)(A) and (B)(iv),
28   (Local code T-4), and that the ends of justice served in granting the continuance and



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 1   allowing the defendants further time to prepare outweigh the best interests of the public
 2   and the defendant to a speedy trial.
 3
 4   DATED:         June 7, 2012               /S/    William Wong___________
                                                      WILLIAM WONG
 5
                                                      Attorney for Plaintiff
 6
 7                                             /S/    Clemente M. Jiménez________
 8                                                    CLEMENTE M. JIMÉNEZ
                                                      Attorney for Pablo Castro Marron
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 1                                            ORDER
 2
     IT IS SO ORDERED, that the currently set trial confirmation hearing be vacated and the
 3
     matter continued to June 11, 2012, at 2:00 p.m. The Court finds that time under the
 4
     Speedy Trial Act shall be excluded through June 11, 2012 in order to afford counsel
 5
     reasonable time to prepare. Based on the parties’ representations, the Court finds that the
 6   ends of justice served by granting a continuance outweigh the best interests of the public
 7   and the defendants to a speedy trial.
 8
 9   This 7th day of June, 2012
10                                                    /s/ Edward J. Garcia
11                                                    HON. Edward J. Garcia
                                                      United States District Judge
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